  17-35930-cgm      Doc 24-5    Filed 11/16/17 Entered 11/16/17 15:20:44        Rule 55
                                    Affidavit Pg 1 of 1


UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
POUGHKEEPSIE DIVISION    _______
In re:

Susannah R. Appelbaum,

                                                Chapter 13
                                                Case No. 17-35930-cgm
                           Debtor.              Hon. Chief Judge Cecelia G. Morris

_________________________________________

                                  FRCP 55 AFFIDAVIT


      As attorney for movant admitted to practice before this Court, I represent that

upon information and belief, the debtor is not an infant, incompetent, or in the military.



Dated: November 16, 2017
                                                /s/Lisa Milas_____________________
                                         Lisa Milas, Esq.
                                         Schiller, Knapp, Lefkowitz & Hertzel LLP
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